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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 LAREDO DIVISION

NORMA LOZANO AND                                 §
CORI CHALE CONTRERAS                             §
                                                 §
vs.                                              § CIVIL ACTION NO. 5:17-cv-159
                                                 §
GERALDO GONZALES AND                             §
BT FREIGHT LINES, INC.                           §

           NOTICE OF REMOVAL OF DEFENDANT BT FREIGHT LINES, INC.

TO THE HONORABLE JUDGE OF THE UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF TEXAS:

       Pursuant to 28 U.S.C. §§ 1332 and 1441(a), Defendant BT FREIGHT LINES, INC.

hereby removes this action to the United States District Court for the Southern District of Texas

from the 49TH Judicial District Court of Zapata County, Texas, stating as follows:

1.     Plaintiffs, NORMA LOZANO and CORI CHALE CONTRERAS, commenced this

action in the 49TH Judicial District Court of Zapata County, Texas, where it was given Cause No.

9,910. This action is between citizens of different states. Plaintiffs are residents of Texas.

Defendant BT FREIGHT LINES, INC. is incorporated in California, and has its principal place

of business in San Bernardino, California. Defendant GERALDO GONZALES is a resident of

Arizona.     Further, Plaintiffs claim damages for serious personal injury and allege damages

exceeding $1,000,000. Accordingly, this Court has original jurisdiction under 28 U.S.C. § 1332.

2.     Defendant BT FREIGHT LINES, INC. received the summons and complaint on July 17,

2017, so this removal is timely under 28 U.S.C. § 1446(b).

3.     A copy of all process, pleadings, and orders served upon Defendant are attached as

Exhibit A.




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4.     Defendant has provided written notice of this Notice of Removal to all adverse parties

and has filed a copy with the Clerk of the 49th Judicial District Court of Zapata County, Texas.

Dated: August 16, 2017.




                                              Respectfully submitted,


                                              /s/ Whitney S. Broadwater___________________
                                              WHITNEY S. BROADWATER
                                              SD No. 2462222
                                              State Bar No. 24082733
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                                              NAMAN HOWELL SMITH & LEE, PLLC
                                              8310 N. Capital of Texas Hwy, Ste. 490
                                              Austin, Texas 78731
                                              ATTORNEY FOR DEFENDANTS




                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 16th day of August, 2017, the foregoing was filed with the Clerk
of Court using the CM/ECF system, and was served on counsel as follows:

VIA ELECTRONIC MAIL
Osiris A. Gonzalez
The Osiris A. Gonzalez Law Firm, P.L.L.C.
2100 S. Shary Road, Suite 4
Mission, Texas 78572
oag@oaglawfirm.com


                                                     /s/ Whitney S. Broadwater_______
                                                     WHITNEY S. BROADWATER




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